                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA                           )
                                                   )          CASE NO. 3:19-CR-220
v.                                                 )
                                                   )          JUDGE VARLAN
DARREN PAYNE                                       )



                 NOTICE OF NO OBJECTION TO THE PRESENTENCE
                            INVESTIGATION REPORT


       The United States of America, by and through the United States Attorney for the Eastern

District of Tennessee, hereby files this Notice of No Objection to the Presentence Investigation

Report and states as follows:

       After having reviewed in full the Presentence Investigation Report prepared by Karen L.

Calhoun, United States Probation Officer, the United States has no objection to the Presentence

Investigation Report as prepared.

                                                       Respectfully submitted,

                                                       FRANCIS M. HAMILTON III
                                                       UNITED STATES ATTORNEY


                                             By:       s/ Cynthia F. Davidson
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